Case 8:18-cv-02869-CEH-CPT       Document 450       Filed 03/03/25    Page 1 of 3 PageID 9237




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  THE HURRY FAMILY REVOCABLE
  TRUST; SCOTTSDALE CAPITAL
  ADVISORS CORPORATION; and
  ALPINE SECURITIES
  CORPORATION,                                     CASE NO.: 8:18-cv-02869-CEH-CPT

         Plaintiffs,

  vs.

  CHRISTOPHER FRANKEL,

        Defendant.
  __________________________________/

                  MOTION TO KEEP DOCUMENTS UNDER SEAL

         Plaintiffs, The Hurry Family Revocable Trust, Scottsdale Capital Advisors

  Corporation, and Alpine Securities Corporation (collectively, “Plaintiffs”), file this

  motion for entry of an order extending the time to keep certain documents under seal

  in this case. In support of this motion, Plaintiffs state as follows:

         This case involves the misappropriation of trade secrets and the violation of

  certain non-disclosure and confidentiality agreements. During the course of this case,

  the Court sealed certain documents containing confidential information. See

  Docs. 119, 122, 123, 124, 145, 275. The case proceeded to trial and judgment was

  entered. The parties filed various post-trial motions directed at the judgment and,

  following the Court’s ruling on those motions, the judgment became final. The final
Case 8:18-cv-02869-CEH-CPT       Document 450      Filed 03/03/25   Page 2 of 3 PageID 9238




  judgment was appealed, and this matter remains pending on appeal before the

  Eleventh Circuit Court of Appeals.

        On December 3, 2024, the Court directed the clerk to close this case because

  the matter is on appeal. Doc. 448. On December 5, 2024, a CM/ECF notice was

  issued providing that, pursuant to Local Rule 1.11(e), the seal on the sealed

  documents would expire ninety days after the case was closed and all appeals were

  exhausted. Doc. 449. The notice further provided that “[t]o prevent the content of a

  sealed item from appearing on the docket after the seal expires, a party or interested

  non-party must move for relief before the seal expires.” Id; see also Local Rule 1.11(e).

  Because this matter is still on appeal, the seal has not expired. Nevertheless, in an

  abundance of caution, Plaintiffs file this motion seeking an order that Docs. 119,

  122, 123, 124, 145, and 275 shall remain sealed until 90 days after conclusion of the

  appeal or as otherwise ordered by the Court in accordance with Local Rule 1.11(e).

        WHEREFORE, the Plaintiffs respectfully request that the Court enter an

  order (i) directing tha,t pursuant to Local Rule 1.11(e), Docs. 119, 122, 123, 124,

  145, and 275 shall remain sealed until 90 days after conclusion of the pending appeal

  or until as otherwise ordered by the Court and (ii) granting such further relief as the

  Court deems just and proper.

                             Local Rule 3.01(g) Certification

        Undersigned counsel certifies that he attempted in good faith to confer with

  counsel for Defendant regarding this motion, but he has not yet reached Defendant’s

  counsel. In accordance with Local Rule 3.01(g)(3), the undersigned will try diligently
Case 8:18-cv-02869-CEH-CPT       Document 450    Filed 03/03/25   Page 3 of 3 PageID 9239




  for the next three days to confer with Defendant’s counsel and will supplement this

  certification accordingly.

                                                Respectfully submitted,

                                                /s/ Kenneth G. Turkel
                                                Kenneth G. Turkel – FBN 867233
                                                kturkel@tcb-law.com
                                                David A. Hayes – FBN 96657
                                                dhayes@tcb-law.com
                                                TURKEL CUVA BARRIOS, P.A.
                                                100 North Tampa Street, Suite 1900
                                                Tampa, Florida 33602
                                                Tel: (813) 834-9191
                                                Fax: (813) 443-2193
                                                Attorneys for Plaintiffs




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 3, 2025, the foregoing document was
  filed with the Court’s CM/ECF system, which will send electronic notice to all
  counsel of record.

                                                /s/ Kenneth G. Turkel
                                                Attorney
